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                                                                   1    Debra I. Grassgreen (CA Bar No. 169978)
                                                                        Malhar S. Pagay (CA Bar No. 189289)
                                                                   2    PACHULSKI STANG ZIEHL & JONES LLP
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                                                                   3    Los Angeles, California 90067
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                                                                   5            mpagay@pszjlaw.com
                                                                   6    Counsel for Petitioning Creditor, Richard M. Pachulski, Chapter
                                                                        11 Trustee of Layfield & Barrett, APC
                                                                   7

                                                                   8                                UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11   In re:                                               Case No. 2:18-bk-15829-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   PHILIP JAMES LAYFIELD,                               Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                       Alleged Debtor.     PETITIONING CREDITOR, RICHARD M.
                                                                                                                           PACHULSKI, CHAPTER 11 TRUSTEE OF
                                                                  14
                                                                                                                           LAYFIELD & BARRETT, APC’S JOINDER
                                                                  15                                                       TO WELLGEN STANDARD, LLC’S
                                                                                                                           OBJECTION TO ALLEGED DEBTOR’S
                                                                  16                                                       MOTION TO CONVERT CASE UNDER 11
                                                                                                                           U.S.C.§§ 706(A) OR 1112(A)
                                                                  17

                                                                  18                                                        [Relates to Docket Nos. 95 and 144]
                                                                  19                                                        Date:      December 6, 2018
                                                                  20                                                        Time:      10:00 a.m.
                                                                                                                            Courtroom: 1545
                                                                  21                                                                   255 E. Temple Street
                                                                                                                                       Los Angeles, California 90012
                                                                  22                                                        Judge:     Hon. Neil W. Bason
                                                                  23

                                                                  24            Richard M. Pachulski, Chapter 11 Trustee of the bankruptcy estate of Layfield & Barrett,

                                                                  25   APC, and petitioning creditor herein, hereby joins and incorporates as if fully set forth herein

                                                                  26   Wellgen Standard, LLC’s Objection to Alleged Debtor’s Motion to Convert Case Under 11 U.S.C.

                                                                  27   §§ 706(A) or 1112(A) [Docket No. 144].

                                                                  28


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                                                                   1
                                                                        Dated: December 4, 2018                     PACHULSKI STANG ZIEHL & JONES LLP
                                                                   2

                                                                   3
                                                                                                                    By    /s/Malhar S. Pagay
                                                                   4                                                      Malhar S. Pagay
                                                                                                                          Counsel for Petitioning Creditor, Richard M.
                                                                   5                                                      Pachulski, Chapter 11 Trustee of
                                                                                                                          Layfield & Barrett, APC
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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): PETITIONING CREDITOR, RICHARD M.
PACHULSKI, CHAPTER 11 TRUSTEE OF LAYFIELD & BARRETT, APC’S JOINDER TO WELLGEN STANDARD,
LLC’S OBJECTION TO ALLEGED DEBTOR’S MOTION TO CONVERT CASE UNDER 11 U.S.C.§§ 706(A) OR 1112(A)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 15, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 15, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 15, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY                                                       By Email:
Honorable Neil W. Bason                                                     Philip Layfield phil@maximum.global
U.S. Bankruptcy Court
255 E. Temple Street, Room 940
Los Angeles, CA 90012
Attn: Mail Room Clerk-Judges Copies

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 15, 2018                     Myra Kulick                                             /s/ Myra Kulick
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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        Case 2:18-bk-15829-NB                   Doc 145 Filed 12/04/18 Entered 12/04/18 13:52:19                                      Desc
                                                  Main Document    Page 4 of 4
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Mailing Information for Case 2:17-bk-19548-NB

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       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Dennis J Wickham wickham@scmv.com, nazari@scmv.com




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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